      Case 2:07-cv-02513-GMS Document 2391 Filed 03/22/19 Page 1 of 7



1    WILLIAM G. MONTGOMERY
     MARICOPA COUNTY ATTORNEY
2
     By:    JOSEPH I. VIGIL (018677)
3           JOSEPH J. BRANCO (031474)
            BRIAN J. PALMER (023394)
4           Deputy County Attorneys
            vigilj@mcao.maricopa.gov
5           brancoj@mcao.maricopa.gov
            palmeb02@mcao.maricopa.gov
6
     CIVIL SERVICES DIVISION
7    Security Center Building
     222 North Central Avenue, Suite 1100
8    Phoenix, Arizona 85004
     Telephone (602) 506-8541
9    ca-civilmailbox@mcao.maricopa.gov
     MCAO Firm No. 00032000
10
     Attorneys for Defendant Paul Penzone
11

12                            UNITED STATES DISTRICT COURT

13                                  DISTRICT OF ARIZONA
14
     Manuel De Jesus Ortega Melendres,         No. CV-07-2513-PHX-GMS
15   on behalf of himself and all others
     similarly situated; et. al,
16
                                               DEFENDANT SHERIFF PAUL
                      Plaintiffs,              PENZONE’S REPLY IN SUPPORT OF
17
                                               MOTION TO MODIFY PARAGRAPH 70
     and                                       PLAN
18
     United States of America,                 (DOCS. 2120, 2220-1, 2143)
19
                      Plaintiff-Intervenor,
20   v.
21   Paul Penzone, in his official capacity
     as Sheriff of Maricopa County,
22   Arizona, et. al.,
23                    Defendants.
24

25          Defendant Sheriff Paul Penzone (“Sheriff Penzone”) hereby respectfully replies in
26
     support of his request that this Court modify its Order regarding the Sheriff’s Paragraph
27

28


                                                1
      Case 2:07-cv-02513-GMS Document 2391 Filed 03/22/19 Page 2 of 7



1    70 Plan. (Doc. 2369; see also Docs. 2120, 2220-1, 2143). The Sheriff’s revised response
2    consistent with Paragraph 70 is attached as Exhibit A to Doc. 2369. (Doc. 2369-1).
3
                                             Argument
4
           Because the United States does not object to the Sheriff’s proposed modifications,
5

6    (Doc. 2373 at 3), the Sheriff’s reply focuses on some of the criticism from Plaintiffs’
7    counsel. (See Doc. 2372).
8
           1.     The primary difference between the Sheriff’s Community Policing
9
     Philosophy and the “counter-proposal” put forth by Plaintiffs’ counsel is the relationship
10

11   between Paragraph 70 and the larger vision of this Court’s orders. At bottom, Plaintiffs’
12   counsel’s “counter-proposal” merely duplicates what this Court has already ordered the
13
     Sheriff to do. (See Doc. 2372 at 13–14). The Sheriff is not opposed to considering some
14
     of their suggestions for how to better deliver implicit bias training, further develop the
15

16   Early Identification System, and improve the culture of supervision in the Office. (See

17   Doc. 2372 at 13–14). On this point, the Sheriff already hired an outside vendor to deliver
18
     implicit bias training in 2018 and anticipates selecting a vendor for future years based on
19
     input from the community listening sessions and the Parties. And the Sheriff hired CNA
20

21   to develop a methodology for monthly traffic stop reports—currently pending Monitor

22   approval—that supervisors will use in near-real-time to address potentially problematic
23
     patterns. But simply repeating these efforts in a Paragraph 70 plan does not produce “an
24
     effective community outreach constitutional policing plan, not just for the short term, but
25

26   for the long term” beyond what the Sheriff is already required to do. (See Jan. 18, 2019

27   Status Conf. Tr. at 16:13–16).
28


                                                 2
         Case 2:07-cv-02513-GMS Document 2391 Filed 03/22/19 Page 3 of 7



1            2.    The Sheriff also takes issue with Plaintiffs’ counsel’s characterization of the
2    process for producing the Sheriff’s Community Policing Philosophy as “a rushed sprint.”
3
     (See Doc. 2372 at 8–9). Plaintiffs’ counsel complains that over a series of months they
4
     received “three very different versions of the Sheriff’s paragraph 70 plan.” (Id. at 9).
5

6    That’s a feature—not a bug—of an iterative process that considered feedback from all
7    stakeholders, including community members, advisory boards, the Parties, and Technical
8
     Assistance from the Monitor. Plaintiffs’ counsel’s statement that each version of the plan
9
     was “scrapped without advance notice or time for Plaintiffs to provide meaningful input”
10

11   is simply not true. (See Doc. 2372 at 9). For example, at the January 18, 2019 status
12   conference, Plaintiffs’ counsel stated that “we were able to meet and confer yesterday
13
     extensively about this topic where we raised many of our concerns” with the Sheriff’s
14
     proposal. (Jan. 18, 2019 Status Conf. Tr. at 7:12–14). That meet and confer followed no
15

16   less than two explicit opportunities for written feedback and the continuing ability of

17   Plaintiffs’ counsel to address any concerns at the Parties’ bi-weekly conference calls, by
18
     phone call, or by email over a series of months. (See also Jan. 18, 2019 Status Conf. Tr. at
19
     8:7–12:22, 13:3–16:22, 21:24–22:14 (addressing prior procedural concerns)).
20

21           Further, despite notice since October 2018 that the Sheriff sought to modify the

22   prior Plan, Plaintiffs’ counsel did not address the “sea change in the culture of
23
     supervision” until a February 20, 2019 call with the Parties 1—after the Sheriff already
24
     submitted the Community Policing Philosophy document to this Court.               During a
25

26
     1
             Although the Sheriff does not believe Plaintiffs’ counsel’s rough “proposed ideas
27   in this area,” (see Doc. 2372 at 14), should be included in a response under Paragraph 70,
28   the Sheriff would like to discuss them with Plaintiffs’ counsel consistent with Doc. 606.


                                                  3
         Case 2:07-cv-02513-GMS Document 2391 Filed 03/22/19 Page 4 of 7



1    February 6, 2019 conference call, counsel for the Plaintiffs stated they would not engage
2    in a “back and forth” on the Sheriff’s response any longer. And in a March 4, 2019
3
     conference call, Plaintiffs’ counsel did not see the utility in discussing any potential
4
     compromise.
5

6            3.    The Sheriff disagrees with the substantive concerns raised by Plaintiffs’
7    counsel about the Community Policing Philosophy. (See Doc. 2372 at 5–9). First,
8
     Plaintiffs’ counsel misapprehends the purpose of a pilot district. Plaintiffs’ counsel faults
9
     the Sheriff for selecting a pilot district with “only a 15.6% Latino population” by
10

11   comparing the pilot district’s demographics to that of Maricopa County as a whole. That
12   comparison does not acknowledge that the MCSO does not patrol the entire County—only
13
     some contract cities and unincorporated parts. Further, selecting a pilot district or
14
     microdistrict with a larger Latino population for the initial pilot district runs a greater risk
15

16   of alienating that community during the piloting process.             Plaintiffs’ counsel also

17   confusingly believes the Sheriff’s established relationships in the pilot district are a
18
     weakness of his proposal, rather than a strength supporting implementation of a new
19
     philosophy. Tellingly, Plaintiffs’ counsel does not offer an alternative pilot site. 2
20

21           Second, Plaintiffs’ counsel faults the Sheriff for not lining up training, setting a

22   timeline in stone, and developing sample documents in advance of requesting this Court’s
23
     modification of the prior Plan. (Doc. 2372 at 6–9). This argument misapprehends the
24

25   2
            Despite reservations about selecting a district/microdistrict with a larger Latino
26   population because of the potential risk of alienation presented by potential set backs with
     a new program, in an effort to work together to meet Plaintiff’s counsel’s concerns the
27   Sheriff offered to replicate the pilot district in another, smaller area with a higher Latino
     population. Plaintiffs’ counsel said this concession still did not meet their concerns and
28   they did not see the benefit of further discussion.


                                                    4
      Case 2:07-cv-02513-GMS Document 2391 Filed 03/22/19 Page 5 of 7



1    nature of this endeavor.      The purpose of implementing the Community Policing
2    Philosophy in a pilot setting is so MCSO command staff can work hands-on with the pilot
3
     district to build support for this shift in philosophy, identify training needs, and develop
4
     more-specific timelines, community-facing processes, and documents. The command
5

6    staff will also report to the Sheriff—and the public through this Court and the MCSO’s
7    website—on the progress of the pilot program.
8
            Third, Plaintiffs’ counsel raises the specter of the MCSO’s history with the Latino
9
     community to warn of unspoken “potential downsides” to increased contact between
10

11   deputies and the community. (See Doc. 2372 at 6). The Sheriff is well-aware of that
12   history—it animates the Community Policing Philosophy. (See, e.g., Jan. 18, 2019 Status
13
     Conf. Tr. at 10:24–11:5 (“[T]o the extent that there are members of the plaintiffs’ class, or
14
     members of the community more generally, that are distrustful, discouraged for working
15

16   with the office on -- to address these concerns, or even fearful, getting frontline deputies,

17   frontline sergeants, face-to-face with them so that they can work together to achieve the
18
     community’s needs is a key pillar of this.”). If Plaintiffs’ counsel foresees unintended
19
     consequences with making deputies more available to the community, the Sheriff
20

21   welcomes their feedback.

22          Indeed, elsewhere Plaintiffs’ counsel states that they have “been urging more
23
     meaningful pathways for exchange of information on topics related to cultural
24
     competency and actual community perspectives on policing.” (See Doc. 2372 at 12). The
25

26   MCSO has reached out to members of the Latino community to achieve those ends—

27   members of the community who are, in turn, understandably concerned about working
28


                                                  5
      Case 2:07-cv-02513-GMS Document 2391 Filed 03/22/19 Page 6 of 7



1    with the MCSO given its history. Toward that end, the Sheriff and the MCSO have
2    requested Plaintiffs’ counsel’s help in identifying community members who would be
3
     willing to work with the Office to address these topics, but to date, that has not occurred.
4
     The Community Policing Philosophy presents the means for reaching directly to the
5

6    community—particularly the Latino community—to address these issues.
7                                              Conclusion
8
            The Sheriff’s Community Policing Philosophy is an important step toward ensuring
9
     the MCSO builds trust and is accountable to the community, particularly the Latino
10

11   community. The Community Policing Philosophy does not merely duplicate what this
12   Court has ordered, it meaningfully furthers the purpose of those orders by giving frontline
13
     deputies, supervisors, and the community they serve tools to address shared concerns.
14
            Therefore, the Sheriff respectfully seeks this Court’s relief from the Court’s prior
15

16   order at Doc. 2143, approving the prior version of the Paragraph 70 Plan because the

17   Sheriff believes that the Community Policing Philosophy more effectively addresses the
18
     concerns of Paragraph 70 and other provisions of this Court’s orders otherwise effectively
19
     overlap with the prior Plan’s contents.
20

21          RESPECTFULLY SUBMITTED this 22nd day of March, 2019.

22
                                                WILLIAM G. MONTGOMERY
23                                              MARICOPA COUNTY ATTORNEY
24
                                                BY: /s/ Joseph J. Branco
25                                                  JOSEPH I. VIGIL, ESQ.
                                                    JOSEPH J. BRANCO, ESQ.
26                                                  BRIAN J. PALMER, ESQ.
                                                    Attorneys for Defendant Paul Penzone
27

28


                                                   6
      Case 2:07-cv-02513-GMS Document 2391 Filed 03/22/19 Page 7 of 7



1                                               CERTIFICATE OF SERVICE
2           I hereby certify that on March 22, 2019, I caused the foregoing document to be
3    electronically transmitted to the Clerk’s Office using the CM/ECF System for filing and
     served on counsel of record via the Court’s CM/ECF system.
4

5    /s/J. Barksdale
6    S:\CIVIL\CIV\Matters\CJ\2007\Melendres CJ07-0269\Pleadings\Word\2019_0320_FINAL Reply re Mot to Modify Para 70 Plan.docx

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                                     7
